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 2   JEROME E. MATTHEWS
     Assistant Federal Public Defender
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     Telephone: (510) 637-3500
 5
     Counsel for Defendant MICHAEL DOWNEY
 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )        No. CR-05 00651 CW [WDB]
                                                    )
12                          Plaintiff,              )        STIPULATION AND ORDER
                                                    )        MODIFYING RELEASE CONDITIONS
13   vs.                                            )
                                                    )
14   MICHAEL DOWNEY, et al.,                        )
                                                    )
15                                                  )
                       Defendants.                  )
16   _____________________________________

17
            Michael Downey recently learned that his mother, who of late has been in ill health,
18
     collapsed and presently is on life support in the intensive care unit at Rogue Valley Medical
19
     Center, Medford, Oregon. Mr. Downey would like to leave the New Bridge facility, to which he
20
     was released by this Court, to spend time with his mother and family during this critical period.
21
            It is therefore STIPULATED AND AGREED that Mr. Downey may leave New Bridge
22
     and travel out of district, to and including the State of Oregon, to spend time with his mother and
23
     family. Mr. Downey will continue to be subject to supervision by Pretrial Services, including his
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     travel schedule and itinerary.
25

26


     STIP/ORD                                           1
     Case 4:05-cr-00651-CW           Document 123           Filed 06/09/06                       Page 2 of 2



 1
                                                           /S/
 2   Dated: June 8, 2006                            ____________________________
                                                    KIRSTIN AULT
 3                                                  Assistant United States Attorney

 4

 5

 6                                                         /S/
     Dated: June 8, 2006                            ____________________________
 7                                                  JEROME E. MATTHEWS
                                                    Assistant Federal Public Defender
 8

 9
                                                                /S/
10
     Dated: June 8, 2006                            _____________________________
11                                                  VICTORIA GIBSON
                                                    U.S. Pretrial Services Officer
12

13   I hereby attest that I have on file all holograph signatures for any signatures indicated by a

14   “conformed” signatures (/S/) within this e-filed document.

15

16          Good cause appearing therefor, IT IS ORDERED that Michael Downey may leave New

17   Bridge and travel out of district, to and including the State of Oregon, to spend time with his mother

18   and family for the reasons stated in the foregoing stipulation. Mr. Downey shall continue to be

19   subject to supervision by Pretrial Services, and his travel plans shall be coordinated under the

20   direction of the assigned Pretrial Services Officer.           S DISTRICT
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                                                      UNIT




22   Dated: June 9 , 2006                                      IT IS S
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23                                                                                      Brazil
                                                                              ayne D.
                                                      NO




                                                                    Judge W
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                                                       RT




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24                                                             ER
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                                                             D IS T IC T O
25                                                                 R
                                                    ______________________________
                                                    WAYNE D. BRAZIL
26                                                  United States Magistrate Judge


     STIP/ORD                                          2
